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Honorable Judge,

I am writing to respectfully bring to your attention serious concerns regarding the above-
referenced case. I am the owner of Budkoin LLC, a small business currently facing a lawsuit
alleging ADA website violations brought by Primitivo Robles, who claims to be legally blind.

Unfortunately, I was not properly served in this matter due to the fact that my business does not
maintain a physical office capable of receiving service. As a result, I was unaware of the
summons until just a few days ago and have since defaulted unintentionally. The plaintiff and
their representation appear to have mistakenly assumed that the location of my pickup kiosk is
my business’s physical storefront.

After reading the Class Action Complaint, it became clear that there were several inaccurate and
misleading statements made about how my business operates. During my review of this case, I
also found that the plaintiff has filed numerous nearly identical lawsuits against other small
businesses in a short period of time.

From the moment I became aware of the ADA compliance concerns on Monday, April 7, 2025, I
took immediate action, and as of today, Wednesday, April 9, 2025, my website is now fully
compliant. Since starting my business on April 20, 2024, I’ve always made every effort to
remain in good standing and follow all necessary legal requirements.

All I ask is a fair opportunity to be heard. I respectfully ask the Court to consider dismissing this
case or, at the very least, to set aside the default so that I can respond properly and defend my
business in good faith.

Thank you for your time and understanding.

Sincerely,
Delano de Randamie
Owner, Budkoin LLC
